  Case 09-40186-JKS            Doc 64      Filed 05/30/18 Entered 05/30/18 10:17:00             Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

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Attorneys for the Debtor



                                                                Case No.:      ___________________
                                                                                    09-40186
In Re:
UZI MAROM,                                                      Chapter:                7
                                                                               ___________________

Debtor.                                                         Hearing Date: ___________________
                                                                                 August 7, 2018
                                                                Judge:               Sherwood
                                                                                ___________________



                                           STATUS CHANGE FORM

   Pursuant to D.N.J. LBR 9013-3, the undersigned notifies the court that the matter identified below
   has been:

                             ☐ Settled             ☐ Withdrawn

           Debtor's motion to re-open case and for other relief [Dkt. No. 56]
   Matter: ___________________________________________________________________________

   __________________________________________________________________________________



          May 30, 2018
   Date: ______________________                             /s/ Kenneth L. Baum
                                                            ________________________________
                                                            Signature




                                                                                                    rev.8/1/15
